                               Case 6:21-cv-00474-AA      Document 50-16       Filed 08/06/21   Page 1 of 2


                                                  College or University (See Corresponding Number Chart)
   Exemption
                       1   2     3   4   5   6   7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27
34 C.F.R. § 106.21              *                                   *            *
34 C.F.R. § 106.22
34 C.F.R. § 106.23
34 C.F.R. § 106.31                                                                                    *             *
34 C.F.R. § 106.32
34 C.F.R. § 106.33
34 C.F.R. § 106.34
34 C.F R. § 106.35
34 C.F.R. § 106.36              *
34 C.F.R. § 106.37              *                                                                                               *
34 C.F.R. § 106.38
34 C.F.R. § 106.39
34 C.F.R. § 106.40                                                  *               *
34 C.F.R. § 106.41
34 C.F.R. § 106.42
34 C.F.R. § 106.43
34 C.F.R. § 106.51
34 C.F.R. § 106.52
34 C.F.R. § 106.53              *
34 C.F.R. § 106.54
34 C.F.R. § 106.55              *                                                                                               *
34 C.F.R. § 106.56
34 C.F.R. § 106.57                                                  *
34 C.F.R. § 106.58
34 C.F.R. § 106.59
34 C.F.R. § 106.60              *        *                          *                                                           *
34 C.F.R. § 106.61
                                             * only exemption for specific subsection(s)
 This chart is based on the good faith efforts to understand and chart the correspondence between institution and Department.
                     Retrieved from https://www2.ed.gov/about/offices/list/ocr/correspondence/other.html.


 EXHIBIT Q                                                                                                                          1
            Case 6:21-cv-00474-AA   Document 50-16   Filed 08/06/21   Page 2 of 2




EXHIBIT Q                                                                           2
